                              IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF ALASKA

 ELSIE KRIVENKO,
                                                         Case No. 3:17-cv-00132-TMB
                             Plaintiff,
         vs.

 ARCTIC CATERING, INC., et al,                                    JUDGMENT
                                                                IN A CIVIL CASE
                             Defendant.


                JURY VERDICT. This action came before the Court for a trial by jury. The

issues have been tried and the jury has rendered its verdict.

         X      DECISION BY COURT. This action came to trial or hearing before the Court.

The issues have been tried or heard and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that this action is REMANDED to the Superior

Court for the State of Alaska, 3rd Judicial District at Anchorage, AK.

APPROVED:

s/TIMOTHY M. BURGESS
    TIMOTHY M. BURGESS
    United States District Judge

August 11, 2017                                                 LESLEY K. ALLEN
             Date                                                Clerk of Court




Jmt - TMB CV- rev. 9-21-16



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